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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


 GRAND BOULE OF SIGMA PI PHI
 FRATERNITY, INC. d/b/a SIGMA PI
 PHI,
                                              Civil Action File No.
                     Plaintiff,

       v.                                     JURY TRIAL DEMANDED

 JETERACTIVE, LLC,

                     Defendant.

 GRAND BOULE OF SIGMA PI PHI FRATERNITY, INC.’S d/b/a SIGMA
  PI PHI VERIFIED COMPLAINT FOR DAMAGES AND INJUNCTIVE
                          RELIEF

      Comes now, Plaintiff Grand Boulé of the Sigma Pi Phi Fraternity, Inc., d/b/a

Sigma Pi Phi (“Sigma Pi Phi”), by and through its counsel, and brings this Complaint

against Jeteractive, L.L.C. (“Jeteractive”) as follows:

                             SUMMARY OF CLAIMS

      1.      This is an action by Sigma Pi Phi against Jeteractive stemming from

Jeteractive’s breach of contract; violation of the Anticybersquatting Consumer

Protection Act, 15 U.S.C. § 1115; misappropriation of Sigma Pi Phi’s trade secrets

under the Defend Against Trade Secret Act, 18 U.S.C. § 1836, et seq.; deceptive

trade practices intended to disparage Sigma Pi Phi; and conversion.

      2.      As set forth below, Jeteractive’s use of the “sigmapiphi.org” domain

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intentionally and willfully infringes Plaintiff’s U.S. Trademark Registration No.

3,689,057 for “SIGMA PI PHI”.

      3.      Jeteractive is a cybersquatter of the “sigmapiphi.org” domain.

      4.      Jeteractive published false statements with the intent to cause injury to

Sigma Pi Phi, and has converted Sigma Pi Phi’s intellectual property.

      5.      Jeteractive has exercised control over the sigmapiphi.org website and

is denying Sigma Pi Phi access to and exclusive control over Sigma Pi Phi’s data,

and has further failed to return the Fraternity’s email database which contains the

contact information of its members, effectively shutting down Sigma Pi Phi’s ability

to communicate, fundraise and otherwise operate the organization.

      6.      Jeteractive’s activities will continue unless enjoined by this Court.

                                     I. PARTIES

      7.      Plaintiff Sigma Pi Phi is a nonprofit corporation organized in the state

of Pennsylvania, with its principal place of business in Fulton County, Georgia.

      8.      Sigma Pi Phi was founded in 1904 to enhance and support the

professional careers and social relationships of its members. Notable members of

Sigma Pi Phi include W.E.B. DuBois, Martin L. King, Jr., and Ambassador Andrew

Young, as well as several other business and civic leaders. There are currently 5,000

members of Sigma Pi Phi.

      9.      Defendant Jeteractive is a Washington, D.C. limited liability company.


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      10.    Jeteractive provides webpage management services.

                          II. JURISDICTION AND VENUE

      11.    This Court has original subject matter jurisdiction over Sigma Pi Phi’s

claims for violations of the Anticybersquatting Consumer Protection Act pursuant

to 15 U.S.C. § 1115. This Court has subject matter jurisdiction over Sigma Pi Phi’s

federal trade secret claim pursuant to 18 U.S.C. § 1836, et seq. and 28 U.S.C. 1331

because Sigma Pi Phi asserts the claim for misappropriation of trade secrets under

the Defend Trade Secrets Act of 2016.

      12.    This Court has supplemental jurisdiction pursuant to 38 U.S.C. § 1338

to hear the state law claims for deceptive trade practices, breach of contract, and

conversion which are joined with the federal claims.

      13.    Judicial economy, convenience, and fairness to the parties will result if

this Court assumes and exercises its subject matter jurisdiction over all causes of

action asserted herein.

      14.    This Court has personal jurisdiction over Jeteractive because it

transacted business and performed work in this State, caused tortious injury in this

State and/or regularly has done or solicited business in this State, or engaged in a

persistent course of conduct in this State.

      15.    Venue is proper in this judicial district pursuant to 28 U.S.C. §

1391(b)(2) because a substantial part of the events giving rise to the claim occurred


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in the State of Georgia, and in this judicial district. In addition to the allegations

above and below, the Parties contractually agreed to be governed by the laws of the

State of Georgia. See Ex. 4 at § 9.04.

                    III. FACTS COMMON TO ALL COUNTS

      A.      Sigma Pi Phi’s Proprietary Rights in the SIGMA PI PHI
              Trademark

      16.     Sigma Pi Phi is a nonprofit corporation with its principal place of

business in Fulton County, Georgia. Sigma Pi Phi was founded in 1904 and operates

throughout the United States of America. In 1980, Plaintiff was granted a 501(c)(3)

status to provide scholarships, social engagement programs, and other charitable

actions.

      17.     Plaintiff has used the “SIGMA PI PHI” trademark in connection with

the aforementioned services since on or about May 15, 1904.                See Ex. 1.

Furthermore, Plaintiff officially registered the SIGMA PI PHI trademark, which was

assigned registration number 3,689,057 on September 29, 2009, with the U.S. Patent

and Trademark Office. See Ex. 2. Sigma Pi Phi never abandoned use of its trademark

for the aforementioned services.

      18.     The sigmapiphi.org domain name was registered on or about September

5, 2002, and Plaintiff enjoyed uninterrupted use of the domain name since that date.

See Ex. 3.

      19.     Sigma Pi Phi possesses all right, title, and interest in and to the common

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law sigmapiphi.org trademark based on the continuous use and ownership of the

SIGMA PI PHI trademark in U.S. commerce.

      20.    Sigma Pi Phi further owns e-mail addresses associated with the

sigmapiphi.org domain name including, but not limited to, the info@sigmapiphi.org

general email address.

      21.    Finally, Sigma Pi Phi owns and possesses confidential and trade secret

information. Specifically, Sigma Pi Phi’s confidential and trade secret information

includes: (A) its membership listing and the member’s biographical information, (B)

the membership’s contact information, (C) Sigma Pi Phi’s administrative content

housed in the data server, (D) Sigma Pi Phi’s delegate management interface, (E)

Sigma Pi Phi’s delegate e-mail servers, (F) the source code associated with the

www.sigmapiphi.org website, and (G) a compilation trade secret incorporating trade

secrets (A) through (F).

      B.     Defendant’s Infringing Activities and Bad Faith Conduct

      22.    On or about August 12, 2009, Jeteractive purchased, and subsequently

updated, a ten year unlimited business email, deluxe calendar, and economy online

storage for the sigmapiphi.org domain name.

      23.    On or about September 24, 2012, the Parties entered into a contractual

agreement (“Agreement”). See Ex. 4. Pursuant to the Agreement, Jeteractive agreed

to provide webservice hosting and software management for Sigma Pi Phi. Id. The


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Agreement expressly states, Sigma Pi Phi “shall have full and exclusive right, title

and interest in and to all patents, copyrights, trademarks (including any applications

therefor), trade secrets, and other intellectual property rights developed under, or

relating to the subject matter of” the Agreement. Id. at § 9.01.

      24.    As early as January of 2024, Sigma Pi Phi informed Jeteractive that

Sigma Pi Phi was and had been dissatisfied with the current website.

      25.    As a result, Sigma Pi Phi selected another vender through the RFP

process to develop and provide their new technology platform going forward.

Because Jeteractive was not selected as the New Grand Boulé Technology Platform

(“NGTP”), Sigma Pi Phi wished to engage in an orderly transition of services to a

new service provider.

      26.    On January 18, 2024, Bennett Gaines, the Executive Director of Sigma

Pi Phi, met with Lisa Jeter, principal of Jeteractive, via Zoom to discuss the terms

under which Jeteractive would continue to provide services to Sigma Pi Phi until

Sigma Pi Phi transitioned its webservice hosting and software management to the

new recipient of the NGTP.

      27.    During this meeting, Lisa Jeter agreed that Jeteractive would continue

to provide the same services it had been providing to Sigma Pi Phi under the Parties

Agreement until the end of October of 2024.

      28.    Sigma Pi Phi requested that Jeteractive provide any outstanding


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invoices in furtherance of the transition, but Jeteractive failed to timely provide

invoices for services purportedly rendered.

      29.    Jeteractive did not provide Sigma Pi Phi with invoices for January to

May of 2024, until May 8, 2024. See Ex. 5.

      30.    On March 8, 2024, Jeteractive purported to unilaterally terminate the

Parties Agreement. See Ex. 6.

      31.    On March 15, 2024, Sigma Pi Phi and Jeteractive discussed the Parties

obligations and responsibilities under the Agreement. During this meeting,

Jeteractive withdrew its termination notice.

      32.    On March 19, 2024, Andrew Patterson, on behalf of Sigma Pi Phi sent

a letter to Counsel for Jeteractive, Bernard Coleman Jr., in which he summarized the

agreement reached by the Parties on March 15, 2024. See Ex. 7.

      33.    Within the March 19, 2024 Letter, amongst other things, (1) Sigma Pi

Phi requested that all data residing on Jeteractive servers from when Jeteractive

began providing services to Sigma Pi Phi, approximately in 2002, through December

2022, should be provided to Coltrane Hyde by March 31, 2024; and (2) confirmed

that Jeteractive agreed to continue to provide services as they had been provided

since June 5, 2023 through October 30, 2024 consistent with the current rates. Id.

      34.    On or about April 5, 2024, Lisa Jeter agreed to send Sigma Pi Phi its

proprietary and confidential information and committed to handing over “full


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access/ownership of [the] account” to Sigma Pi Phi once it transferred the domain

sigmapiphi.org to a GoDaddy account created for that purpose. However, Jeteractive

sent Sigma Pi Phi blank files, not the requested files with Sigma Pi Phi’s intellectual

property.

      35.    On April 10, 2024, Jeteractive sent an email to Sigma Pi Phi purporting

to provide it with “all the information they need[]” to access its domain and

GoDaddy account, including the alleged account number “2155939795.” The

GoDaddy account was used to register the sigmapiphi.org domain name. See Ex. 8.

      36.    Between April 10, 2024 and April 15, 2024 Sigma Pi Phi attempted to

access the GoDaddy account, but was unsuccessful because their access was blocked

by the two-factor authentication requirement.

      37.    On April 15, 2024, Lisa Jeter claimed to have confirmed with GoDaddy

that the two-factor authentication was not active for the account and was not required

to login. See Ex. 9.

      38.    On or about June 15, 2024, Jeteractive used Sigma Pi Phi’s proprietary

and confidential information and accessed data on the sigmapiphi.org email servers

to send an unauthorized mass email message to the entire membership of Sigma Pi

Phi. See Ex. 10. The e-mail included the following statement:




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      39.    On the same day, Sigma Pi Phi conducted a routine check of its website

and intellectual property and noticed that the website sigmapiphi.org featured the

statement shown below.




A true and correct copy of this statement is attached hereto as Exhibit 11.

      40.    Jeteractive is not authorized to use any of Sigma Pi Phi’s trademarks or

the www.sigmapiphi.org website to make the statement above.


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      41.     Additionally, Jeteractive blocked Sigma Pi Phi’s access to the

sigmapiphi.org domain, the administrative emails using the sigmapiphi.org domain,

Sigma Pi Phi’s webserver software, Sigma Pi Phi’s administrative content, Sigma Pi

Phi’s delegate management interface, and Sigma Pi Phi’s data manager interface.

      42.     Sigma Pi Phi thereafter repeatedly communicated with Jeteractive in an

attempt to restore the www.sigmapiphi.org website and regain access to Sigma Pi

Phi’s intellectual property.

      43.     On or about June 25, 2024, due to the urgency of gaining access to its

data, Sigma Pi Phi paid all invoices that Jeteractive claimed were outstanding at that

time, despite its objections regarding Jeteractive’s nonperformance of services. The

payment included prepayment through July 31, 2024. See Ex. 12.

      44.     On or about June 28, 2024, Jeteractive deactivated the functionality of

the Sigma Pi Phi’s Website, and removed or deleted the data presented thereupon,

thereby preventing Sigma Pi Phi’s access to and use of Sigma Pi Phi’s Website. See

Ex. 13.

      45.     On or about July 2, 2024, Jeteractive by and through its attorney,

acknowledged receipt of the June 25, 2024 payment, but in response, improperly and

in bad faith, sought to extract further payments from Sigma Pi Phi, including

payments for services it claims will be rendered in the future by asserting that Sigma

Pi Phi must pay the newly issued invoices, which included untimely issued invoices


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for purported prior services, and invoices for services purportedly to be performed

through September 2024 before Jeteractive will: (1) restore Sigma Pi Phi’s website

and all associated functionality, (2) provide Sigma Pi Phi with access to its Website,

(3) transfer Sigma Pi Phi’s own data back to the Fraternity, or (4) comply with the

terms of the Agreement, including the items set forth in the July 3, 2024 Demand

Letter. See Ex. 14.

      46.    In response, on or about July 3, 2024, Sigma Pi Phi sent a demand letter

to Jeteractive. See Ex. 15. The demand letter requested, among other things (1)

immediate removal of the statement on the sigmapiphi.org website, and (2)

immediate restoration of www.sigmapiphi.org and all its associated functionality.

      47.    Thereafter, on or about July 5, 2024, Jeteractive caused the

www.sigmapiphi.org website to be offline and inaccessible to Sigma Pi Phi’s

membership and the general public. See Ex. 16.

      48.    On or about this same day, Jeteractive sent Sigma Pi Phi several newly

issued invoices for yearly subscription fees and services rendered dated June 1, 2024,

and July 1, 2024, and new invoices seeking pre-payment for services to be rendered

from July through September 2024. See Ex. 17.

      49.    Jeteractive refused to (1) restore Sigma Pi Phi’s Website and all

associated functionality, (2) provide Sigma Pi Phi with access to its Website, (3)

transfer Sigma Pi Phi back its own data; or (4) comply with the terms of the


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Agreement, including the items set forth in the July 3, 2024 Demand Letter, until

Sigma Pi Phi paid the newly issued invoices for past and future services.

      50.      On July 16, 2024, Sigma Pi Phi sent Jeteractive a Second Demand

Letter in which it (1) requested Jeteractive provide Sigma Pi Phi with the two-factor

authentication for the GoDaddy account used to register the sigmapiphi.org domain

name; (2) notified Jeteractive that it was aware of several changes it had made, or

caused to be made to Sigma Pi Phi’s website, which still remained inaccessible to

its members; and (3) in good faith agreed to pay the invoices as requested by

Jeteractive, in exchange for Jeteractive restoring Sigma Pi Phi’s full use of its

Website and all associated functionality, and Jeteractive transferring the

sigmapiphi.org domain name to bennett.gaines@sigmapiphi.com. See Ex. 18.

      51.      That same day, Counsel for Jeteractive sent Ceasar Mitchell, Jr., an

attorney at Dentons representing Sigma Pi Phi, an email including a screenshot that

showed the correct customer number for the GoDaddy account was 26908907, not

the 2155939795 number provided in the April 10, 2024, Email. See Ex. 9.

      52.      On July 22, 2024, Sigma Pi Phi informed Jeteractive that it did not

provide the Fraternity with the correct customer number in the April 10, 2024 ,email.

See Ex. 19.”

      53.      Once Sigma Pi Phi had the proper verification information to

communicate directly with GoDaddy, it requested GoDaddy remove the two-factor


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authentication notification to Lisa Jeter.

      54.    It was not until July 24, 2024 — after Sigma Pi Phi had already

requested the two-factor authentication be removed — that Lisa Jeter contacted

GoDaddy in an attempt to request that GoDaddy remove the two-factor

authentication.

      55.    Since June 25, 2024, Jeteractive has exercised control over the

www.sigmapiphi.org website, to the exclusion of Sigma Pi Phi, by refusing to

provide access to and exclusive control over Sigma Pi Phi’s data that was used to

create and maintain functionality of the website to Sigma Pi Phi.

      56.    Sigma Pi Phi has met all preconditions to ownership of the SIGMA PI

PHI trademark and the www.sigmapiphi.org website.

      57.    Jeteractive has failed to return the Fraternity’s email database despite

the Fraternity requesting return of the Fraternity’s email database.

      58.    Jeteractive’s aforementioned unlawful acts are willful and intended to

tarnish the reputation of Sigma Pi Phi and its services.

      59.    Jeteractive’s aforementioned unlawful acts have caused, and will

continue to cause irreparable harm to Plaintiff and the SIGMA PI PHI trademark,

and to the business and services represented thereby.

      60.    Jeteractive’s said acts will continue to damage Sigma Pi Phi unless

restrained by this Court.


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                            IV. CAUSES OF ACTION

                     COUNT I – BREACH OF CONTRACT

      61.    Sigma Pi Phi restates and incorporates the allegations in the preceding

paragraphs 1 through 60 as if set forth fully herein.

      62.    Sigma Pi Phi and Jeteractive entered into an Agreement on September

24, 2012. See generally, Ex. 4.

      63.    Pursuant to the Agreement, Sigma Pi Phi has “full and exclusive right,

title and interest in and to all patents, copyrights, trademarks (including any

applications therefor), trade secrets, and other intellectual property rights developed

under, or relating to the subject matter of” the Agreement. Id. at § 9.01.

      64.    Jeteractive breached the Agreement among other ways, when it (a)

assumed control of the www.sigmapiphi.org website and email account at the

exclusion of Sigma Pi Phi; (b) blocked Sigma Pi Phi’s access to its intellectual

property, including its trade secrets; (c) published an unauthorized statement on the

www.sigmapiphi.org website; and (d) requested changes to the terms of the

Agreement in exchange for removing the unauthorized statement Jeteractive made

on the www.sigmapiphi.org website.

      65.    As a direct and proximate result of Jeteractive’s actions, Sigma Pi Phi

has suffered and continues to suffer immediate and irreparable harm for which there

is no adequate remedy at law as well as damages.


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      66.    Jeteractive’s actions constitute breach of contract.

      67.    Jeteractive’s actions have caused Sigma Pi Phi to suffer damages in an

amount to be proven at trial.

            COUNT II – CYBERSQUATTING 15 U.S.C. § 1125(d)

      68.    Sigma Pi Phi restates and incorporates the allegations in the preceding

paragraphs 1 through 67 as if set forth fully herein.

      69.    Upon information and belief, Jeteractive had and has a bad faith intent

to profit from the registration and use of the sigmapiphi.org domain by among other

things, (a) registering the domain in its own name and thereafter using the domain

to unlawfully extract payments from Sigma Pi Phi and excluding Sigma Pi Phi’s use

of the domain and website content and all functionality associated therewith; (b)

posting a public request for payment, even after acknowledging prepayment from

Plaintiff; and (c) demanding new terms to the Agreement.

      70.    Sigma Pi Phi has been damaged by Defendant’s unlawful use of the

sigmapiphi.org domain name and will continue to suffer irreparable harm.

      71.    Jeteractive’s conduct constituted and/or constitutes extorsion in an

attempt to receive additional money from Sigma Pi Phi for use of the

www.sigmapiphi.org website.

      72.    As a direct and proximate result of Jeteractive’s conduct, Sigma Pi Phi

suffered and is suffering injury, loss, inconvenience, damage, and significant


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expense.

      73.      Jeteractive’s actions have been willful and intentional.

      74.      Jeteractive’s actions violate the Anticybersquatting Consumer

Protection Act under Section 43(d) of the Lanham Act, 15 U.S.C. § 1125(d).

      75.      Sigma Pi Phi is entitled to an award of injunctive relief and damages

caused by Jeteractive’s conduct, the exact amount of which will be demonstrated

and proven at the time of trial; and is also entitled to an award of exemplary damages

and attorneys’ fees.

   COUNT III – MISAPPROPRIATION OF TRADE SECRETS UNDER

            DEFEND TRADE SECRETS ACT 18 U.S.C. § 1836, et seq.

      76.      Sigma Pi Phi restates and incorporates the allegations in the preceding

paragraphs 1 through 75 as if set forth fully herein.

      77.      Sigma Pi Phi owns and possesses confidential and trade secret

information.

      78.      Sigma Pi Phi’s confidential and trade secret information includes: (A)

its membership listing and the member’s biographical information, (B) the

membership’s contact information, (C) Sigma Pi Phi’s administrative content

housed in the data server, (D) Sigma Pi Phi’s delegate management interface, (E)

Sigma Pi Phi’s delegate e-mail servers, (F) the source code associated with the

www.sigmapiphi.org website, and (G) a compilation trade secret incorporating trade


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secrets (A) through (F) above.

      79.    Sigma Pi Phi has taken reasonable measures to keep such information

secret and confidential by, among other steps, limiting access to such information to

select members of the Sigma Pi Phi organization, and requiring Sigma Pi Phi

members to abide by confidentiality agreements and observe Sigma Pi Phi’s policy

on protecting its proprietary and confidential information.

      80.    Sigma Pi Phi’s proprietary and confidential information derives

independent economic value from not being generally known to and not being

readily ascertainable through other means by another person who could obtain

economic value from the disclosure or use of the information.

      81.    On or about September 24, 2012, Jeteractive entered into an Agreement

with Sigma Pi Phi. See Ex. 4.

      82.    Pursuant to the Agreement, Jeteractive agreed to maintain the secrecy

of Sigma Pi Phi’s proprietary and confidential information. Id.

      83.    Upon information and belief, Jeteractive blocked Sigma Pi Phi’s access

to its proprietary and confidential information on or about June 15, 2024.

      84.    Upon information and belief, Jeteractive used Sigma Pi Phi’s

proprietary and confidential information to contact all of the members of Sigma Pi

Phi and accessed data on the sigmapiphi.org email servers. See Ex. 10.

      85.    Jeteractive’s actions are intentional and willful.


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       86.   As a direct and proximate result of Jeteractive’s actions, Sigma Pi Phi

has suffered and continues to suffer immediate and irreparable harm and damages.

       87.   Jeteractive’s intentional and willful misappropriation of Sigma Pi Phi’s

trade secrets violates the Federal Defend Trade Secrets Act, 18 U.S.C. § 1836, et

seq.

       88.   Sigma Pi Phi is entitled to an award of injunctive relief and all damages

caused by Jeteractive’s conduct, the exact amount of which will be demonstrated

and proven at the time of trial; and is also entitled to an award of exemplary damages

and attorney’s fees.

               COUNT IV – DECEPTIVE TRADE PRACTICES

                             O.C.G.A. § 10-1-372(a)(8)

       89.   Sigma Pi Phi restates and incorporates the allegations in the preceding

paragraphs 1 through 88 as if set forth fully herein.

       90.   Jeteractive published the statement below on the www.sigmapiphi.org

website. See Ex. 11.




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       91.    On or about June 25, 2024, Sigma Pi Phi paid Jeteractive $20,875,

which included a prepayment through July 31, 2024 via an ACH transfer. See Ex.

12.

       92.    By July 1, 2024, Jeteractive received the funds from the ACH transfer.

       93.    On or about July 2, 2024, Jeteractive contacted Sigma Pi Phi to indicate

that it is “gun shy” to change the www.sigmapiphi.org website before Sigma Pi Phi

agreed to change the terms of the Agreement. See Ex. 14.

       94.    As a direct and proximate result of Jeteractive’s actions, Sigma Pi Phi

has suffered and continues to suffer immediate and irreparable harm and damages.

       95.    Jeteractive’s disparaging and false statement violates Georgia’s

Uniform Deceptive Trade Practices Act (UDTPA), O.C.G.A. § 10-1-372(a)(8).

       96.    Sigma Pi Phi is entitled to an award of all damages caused by

Jeteractive’s conduct, the exact amount of which will be demonstrated and proven

at the time of trial.

          COUNT V – THEFT BY CONVERSION O.C.G.A. § 51-10-6

       97.    Sigma Pi Phi restates and incorporates the allegations in the preceding

paragraphs 1 through 96 as if set forth fully herein.

       98.    Sigma Pi Phi possess all rights, title, and interest in and to the “SIGMA

PI PHI” trademark based on its continuous use since May 15, 1904, and trademark

registration with the U.S. Patent and Trademark Office.


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      99.    Sigma Pi Phi possess right, title, and interest to the sigmapiphi.org

domain name based on its continuous use since September 5, 2002, and possess

right, title, and interest in the email addresses and website content associated with

sigmapiphi.org.

      100. Jeteractive, under the direction of Sigma Pi Phi, registered the domain

name sigmapiphi.org and maintained it for Sigma Pi Phi’s exclusive use.

      101. Jeteractive took rightful possession of the sigmapiphi.org website after

the September 2012 Agreement, to the extent it was necessary for it to provide its

personal information to renew the sigmapiphi.org domain.

      102. Sigma Pi Phi has, on numerous occasions, demanded the return of the

sigmapiphi.org domain; and Jeteractive failed to return Sigma Pi Phi’s intellectual

property or respond to Sigma Pi Phi’s demands.

      103. As a direct and proximate result of Jeteractive’s actions, Sigma Pi Phi

has suffered and continues to suffer damages.

      104. Jeteractive’s actions constitute theft by conversion.

      105. Jeteractive’s actions have caused Sigma Pi Phi to suffer immediate and

irreparable harm and damages in an amount to be proven at trial.

   COUNT VI – ATTORNEY’S FEES PURSUANT TO O.C.G.A. § 13-6-11

      106. Sigma Pi Phi restates and incorporates the allegations in the preceding

paragraphs 1 through 105 as if set forth fully herein.


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      107. Jeteractive has acted in bad faith, has been stubbornly litigious, and/or

has caused Sigma Pi Phi unnecessary trouble and expense.

      108. Jeteractive is entitled to an award of its reasonable attorney’s fees and

expenses of litigation pursuant to O.C.G.A. § 13-6-11.

                             PRAYER FOR RELIEF

      WHEREFORE, Plaintiff Sigma Pi Phi demands judgment against Jeteractive

as follows:

A.    Entry of a Interlocutory and Permanent Injunction restraining Jeteractive, its

      principals, agents, servants, employees, successors, assigns, and all

      individuals acting in concert or participation with Jeteractive, from using for

      any purpose whatsoever the designation “SIGMA PI PHI” or similar terms.

B.    Entry of an order directing Jeteractive to account for and return to Sigma Pi

      Phi all of the proprietary and confidential information it took from Plaintiff.

C.    Damages against Jeteractive for breach of contract, as requested in Count One.

D.    Damages against Jeteractive for the maximum damages allowable pursuant to

      15 U.S.C. § 1125, as requested in Count Two.

E.    Damages against Jeteractive for misappropriation of Sigma Pi Phi’s trade

      secrets for the maximum damages allowable pursuant to 18 U.S.C. § 1836, et

      seq., as requested in Count Three.

F.    Damages against Jeteractive for deceptive trade practices for the maximum


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      damages allowable pursuant to O.C.G.A. § 10-1-372(a)(8), as requested in

      Count Four.

G.    Damages against Jeteractive for theft by conversion for the maximum

      damages allowable pursuant to O.C.G.A. § 51-10-6, as requested in Count

      Five.

H.    That the costs of this action, including Plaintiff’s reasonable attorneys’ fees,

      be assessed against Jeteractive.

I.    That the Court award such other and further relief as it deems just, equitable

      and proper.

Submitted this 27th day of August, 2024


                                              DENTONS US LLP


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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


GRAND BOULE OF SIGMA PI PHI
FRATERNITY, INC. d/b/a SIGMA PI
PHI,
                                        Civil Action File No.
                   Plaintiff,

       v.                               JURY TRIAL DEMANDED

JETERACTIVE, LLC,

                   Defendant.


                           FONT CERTIFICATION

     Pursuant to Local Rule 7.1 D, I hereby certify that the foregoing document

was prepared using Time New Roman 14 point type as provided in Local Rule 5.1.

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